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UNITED STATES DISTRICT COURT
FOR THE
SOUTHERN DISTRICT OF FLORIDA

SECURITIES AND EXCHANGE COMMISSION,

V.

DAVID MORGENSTERN, FRED MORGENSTERN,
BERNADETTE STEVENS, AND
AMQUEST INTERNATIONAL, LTD.,

98-7044

CIV - DIMITROULEAS
Magistrate Judge Seltzer

Defendants.

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DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES

TO PLAINTIFF’S COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

DEFENDANTS, DAVID, MORGENSTERN, FRED MORGENSTERN,
BERNADETTE STEVENS, AND AMQUEST INTERNATIONAL, LTD., by and

through their undersigned counsel, hereby answer the Plaintiff's Complaint for

injunctive and Other Relief and states as follows:

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As to paragraph 1. Of the Complaint, Defendants state that the

Defendant's Complaint for injunctive and Other Relief speaks for

itself.
As to paragraphs 2., 5., 6., 11., 12., and 13. through 44 and the ad
damnum clauses I., Il., Ill, IV.. and V, Defendants deny same and

demand strict proof thereof.

As to paragraph 3. of the Plaintiff's Complaint, Defendants would
state that the material referenced speaks for itself.

As to paragraph 4, Defendants state that as to that portion of
paragraph 4. which states D. Morgenstern “... served as president and
managing director of Defendant Amquest since February 1996”,
Defendants admit same; however, as to the remaining allegations of
paragraph 4., Defendants deny same and demand strict proof thereof.

As to paragraph 7., Defendants deny that portion of paragraph 7.
which states that Defendant Kinsman Merchant and Associates, Inc.

has . since its inception in 1995, shared offices with Amquest in

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Fort Lauderdale, Florida’; as to the remaining allegations in paragraph
7, Defendants would state that the document speaks for itself.

6. As to paragraph 8 of the Complaint. Defendants deny same as
currently phrased.

7. As to paragraph 9., Defendants deny same.

8. As to paragraph 10. of the Complaint, Defendants state that the
Complaint speaks for itself as to the Plaintiff's claims against the
Defendants and admit that the Complaint purports to state causes of
action under 15 U.S.C. Section 771(b) and 15 U.S.C. Sections 78u(d)
and 78u(e).

WHEREFORE. Defendants pray this Honorable Court dismiss the
Plaintiffs action and/or in the alternative, enter judgment in favor of Defendants
and against the Plaintiff and grant any and all further relief this Court deems just

and proper.
AFFIRMATIVE DEFENSES

As their Affirmative Defenses, these Defendants would state as follows:

1. As their First Affirmative Defense, these Defendants would state that
the Plaintiffs have failed to state a cause of action for fraud upon which
relief may be granted.

2. As their Second Affirmative Defense, these Defendants would state
that they made no material misstatements or omissions relating to the
purchase of securities.

3. As their Third Affirmative Defense, these Defendants state that at no
time material hereto did they have any knowledge of the falsity or
misleading nature of any statement made.

4. As their Fourth Affirmative Defense, these Defendants would state that
they had no intent to employ any device or scheme to defraud Plaintiff

or to make any untrue statement or omission of material fact or to
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engage in any act, practice or business which wouid operate as a
fraud or deceit upon the Plaintiff.

5. As their Fifth Affirmative Defense, these Defendants would state that
they did not employ any device or scheme or artifice to defraud the
Plaintiff, did not make any untrue statement or omission of material
fact and did not engage in any act, practice or course of business
which operated as a fraud or deceit upon the Plaintiff.

6. As their Sixth Affirmative Defense, these Defendants would state that
they made no such material misstatements or omissions or employed
no such devices, schemes, or artifices to defraud.

7. As their Seventh Affirmative Defense, these Defendants would state
that Defendants have no knowledge as to what Plaintiffs may not have
recovered from any sale of the securities.

8. As their Eighth Affirmative Defense, these Defendants would state
any payment default was not as a result of Defendants’ actions, but
rather may have occurred as a result of events out of the control of
these Defendants.

9. As to their Ninth Affirmative Defense, these Defendants would state
that they did not use or employ, in connection with the purchase or
sale of a registered security or not, any manipulative or deceptive
device or contrivance in contravention of such rules and regulations as
prescribed by the SEC.

10. As their Tenth Affirmative Defense, Defendants would state that they
made no material misstatements or omissions relating to the purchase

of securities.

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11. As their Eleventh Affirmative Defense, Defendants state that at no
time material hereto did they have any knowledge of the falsity or
misleading nature of any statement made.

12. As their Twelfth Affirmative Defense, Defendants would state that they
had no intent to employ any device or scheme to defraud Plaintiff or to
make any untrue statement or omission of material fact or to engage in
any practice or business which would operate as a fraud or deceit
upon the investors.

WHEREFORE, Defendant's pray this Honorable Court dismiss the
Plaintiff's action and/or in the alternative, enter judgment in favor of Defendant’s
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and proper. a“

Respectfully si
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arr BOLCH, ESQUIRE

ATTORNEY FOR THE DEFENDANTS
Florida BarNo. 764477

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CERTIFICATE OF SERVICE

| HEREBY CERTIFY that a true and correct copy of the foregoing was
served via U.S. Mail and Facsimile transmission to Glen A. Harris, Esquire at
(305) 536-7465 and U.S. Mail at Securities and Exchange Commission, 1401
Brickel Avenue, Suite 200, Miami, Florida 33131 this .>/_ day of
February,1999.

LAURIE BOLCH, ESQUIRE

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